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      Attorneys for the State of Arizona
       ex rel. Arizona Department of Revenue
 10
                           IN THE UNITED STATES BANKRUPTCY COURT
 11
                               IN AND FOR THE DISTRICT OF ARIZONA
 12

 13   In re:                                            Chapter 13
      FRANCISCO E CANCHE,
 14   SSN: XXX-XX-3134                                  Case No. 2:20-bk-00488-PS
 15                                                     OBJECTION TO CONFIRMATION OF
                                       Debtor.
 16                                                     ORIGINAL CHAPTER 13 PLAN

 17                                                     Docket No. 13
 18

 19          The State of Arizona ex rel. Arizona Department of Revenue (“Department”) objects to

 20   the Original Chapter 13 Plan (“Plan”) filed by Francisco E. Canche (“Debtor”) on January 28,
 21
      2020 as follows:
 22
         1. The Department is the agency empowered and entitled to enforce Arizona tax laws and
 23
      regulations, including but not limited to individual income taxes. A.R.S. § 43-208.
 24

 25      2. The Debtor is an individual residing in the State of Arizona and upon information and

 26
      BCE20-00310




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  1   belief is required to file and pay certain tax liabilities to the Department, including individual
  2
      income taxes. See A.R.S. §§ 43-301 and 43-501.
  3
         3. The Department filed a proof of claim establishing a partially estimated priority claim
  4
      in the amount of $1,876.28. A true and accurate copy of the Department’s First Amended
  5

  6   Proof of Claim (“Claim”) dated February 20, 2020 is No. 1-2 on the Court’s Claims Register.

  7   The Department’s Claim indicates that the Debtor has failed to file the tax return indicated
  8
      below (“Outstanding Return”):
  9
        Income         2019
 10

 11     TPT            Not Applicable
 12

 13
        WTH            Not Applicable

 14

 15      4. As indicated in the Department’s Claim, the Debtor has failed to file all tax returns as
 16
      required by 11 U.S.C. § 1308. The Debtor’s failure to file the Outstanding Return constitutes
 17
      cause to convert or dismiss the case. See 11 U.S.C. § 1307(e); Local Rule of Bankruptcy
 18
      Procedure 2084-5. Moreover, the Plan cannot be confirmed until such time that the Debtor files
 19

 20   the Outstanding Return. 11 U.S.C. § 1325(a)(9). A signed, dated, and non-redacted copy of the

 21   Outstanding Return with the corresponding federal form W-2 and Federal Schedule A, as
 22
      applicable, may be sent to Michelle.Schlosser@azag.gov, which the Department will accept as
 23
      filed on the date that it is received by the Attorney General’s Office.
 24
         5. The Department’s Claim is entitled to priority treatment pursuant to 11 U.S.C.
 25

 26




                                                        2


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  1   § 507(a)(8)(A). The Plan is required to provide payment in full of all priority claims, unless the
  2
      claimant agrees otherwise. 11 U.S.C. § 1322(a)(2). Here, the Department has not agreed to
  3
      different treatment than what Section 1322 requires and the Plan does not provide for the full
  4
      payment of the Department’s priority claim. Therefore, the Plan cannot be confirmed. 11
  5

  6   U.S.C. § 1325(a)(1).

  7      6. The Department reserves the right to amend, supplement, or withdraw this objection.
  8
                                                 Conclusion
  9

 10             Any Chapter 13 plan that the Debtor proposes must provide for and eliminate the

 11   objections specified herein in order to be reasonable and to comply with applicable provisions
 12
      of 11 U.S.C. § 1325. Since the Plan, as it is currently proposed, does not comply with 11
 13
      U.S.C. § 1325, it cannot be confirmed.
 14

 15             WHEREFORE, the Department prays as follows:
 16
                1.    That Confirmation of the proposed Chapter 13 Plan be denied, or in the
 17

 18   alternative, that the Plan be amended or modified to remedy the Department’s objections

 19   herein;
 20
                2.    That should the Debtor fail to amend or modify the Plan to conform with the
 21
      Bankruptcy Code in a reasonable time, that the Court dismiss or convert this case to a Chapter
 22
      7; and
 23

 24             3.    For such other and further relief as this Court deems proper.

 25

 26




                                                       3


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  1          RESPECTFULLY SUBMITTED this 17th day of March, 2020.
  2
                                                        MARK BRNOVICH
  3                                                     Attorney General
  4

  5                                                     /s/ JCS No. 029750
                                                        Jonathan C. Simon
  6
                                                        Assistant Attorney General
  7                                                     Attorney for the State of Arizona
                                                          ex rel. Arizona Department of Revenue
  8

  9
      ORIGINAL of the foregoing filed electronically this 17th day of March, 2020 with:
 10

 11   United States Bankruptcy Court
 12
      District of Arizona

 13   COPY of the foregoing sent by U.S. Mail or by email* this 17th day of March, 2020 to:
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      /s/ Michelle Schlosser
 24
      BCE20-00310
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